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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
                                                                        ~;I OCT 13 r'-t 7: 50
UNITED STATES OF AMERICA,                   CASE NO. 11CR4318 L

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
JENNY NORIEGA GOMEZ,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudicej or

     the Court has dismissed the case for unnecessary delaYi or

    the Court has granted the motion of the Government for dismissal,
    without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittalj or

    a jury has been waived, and the Court has found the defendant not
    guiltYi or

     the jury has returned its verdict, finding the defendant not guiltYi

     of the offense(s) as charged in the Information:
     21:952 AND 960 i 18:2




          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 10/11/11
                                             JAN
                                             UNITED STATES MAGISTRATE JUDGE
